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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                 CIVIL MINUTES - GENERAL
   Case No.      SACV 15-01531 AG (DFMx)                                 Date   March 31, 2017
   Title         SIGMA FINANCIAL CORP. v. GOTHAM INSURANCE CO. ET AL.




   Present: The Honorable        ANDREW J. GUILFORD
             Lisa Bredahl                             Not Present
             Deputy Clerk                      Court Reporter / Recorder               Tape No.
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:


   Proceedings:       [IN CHAMBERS] ORDER GRANTING IN PART AND
                      DENYING IN PART DEFENDANTS’ MOTION TO DISMISS

  When originally filed, back in September 2015, this case primarily concerned the construction
  of a “professional liability” insurance contract. Sigma Financial Corporation, a financial
  services firm located in Ann Arbor, Michigan, sued Gotham Insurance Company, its
  excess-liability insurer, for breach of contract and breach of the implied covenant of good
  faith and fair dealing. (Compl., Dkt. No. 1 at 11–17.) But early in the proceedings, Gotham
  moved for summary judgment on all of Sigma’s contract claims. (Mot. for Summary J., Dkt.
  No. 32.) The Court recognized that this was a “tough case” because “much of the extrinsic
  evidence” presented by the parties “strongly suggests” that the defendants “erred on an
  important detail of the excess coverage.” (Order, Dkt. No. 53 at 5.) But the Court was
  constrained by the “simple truth” that the “contract terms were straightforward,” and
  granted in part Gotham’s motion for summary judgment. (Id. at 6–7.)

  Going forward, however, the Court allowed Sigma to file an amended complaint for good
  cause shown. (Order, Dkt. No. 68 at 2–4.) The operative complaint purports to assert the
  following claims: (1) breach of the implied covenant of good faith and fair dealing against
  Gotham Insurance Company; (2) fraud and deceit against Gotham and ProSight Specialty
  Management Company, Inc.; (3) negligence against Gotham and ProSight; and
  (4) professional negligence against Brown & Brown Program Insurance Services, Inc. (doing
  business as “CalSurance Associates”), Cadence Insurance Brokers, Inc., Gotham, and
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  Prosight. (Am. Compl., Dkt. No. 81 at 13–18.)

  Now, Gotham and ProSight move to dismiss for failure to plead fraud with particularity,
  Fed. R. Civ. P. 9(b), and failure to state a claim upon which relief can be granted, Fed. R. Civ.
  P. 12(b)(6). The Court DENIES in part and GRANTS in part the defendants’ motion to
  dismiss WITHOUT LEAVE TO AMEND. (Dkt. No. 83.)

  1. BRIEF BACKGROUND

  The Court already stated the “salient facts.” (Order, Dkt. No. 53, at 2–5.) But a brief
  recitation is necessary for present purposes. See Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d
  1005, 1014 (9th Cir. 2012) (facts alleged in the complaint must be accepted as true and
  construed in the light most favorable to the non-moving party).

  Sigma operates as a securities broker and registered representative for investors. From July
  2012 to July 2013, Sigma was covered under a primary professional liability insurance policy,
  issued by Arch Specialty Insurance Company. (Am. Compl., Dkt. No. 81 at 5.) That policy
  provided a general coverage limit of $2 million per claim, up to $10 million in total, and a
  special coverage limit for “alternative investments” of $1 million per claim, up to $5 million
  in total. (Id.; see also Arch Policy, Dkt. No. 81-1.)

  Sigma also sought to purchase additional layers of coverage, known as excess liability
  insurance. (Am. Compl., Dkt. No. 81, at 5.) It’s broker, CalSurance Associates, allegedly
  informed Cadence Insurance Brokers that Sigma wanted $5 million in excess coverage “to fit
  over” its general policy limit and its special policy limit. (Id.) But when Cadence tried to
  communicate this information to ProSight Specialty Management and Gotham Insurance
  Company, it apparently got lost in translation. (Id. at 5–6.) Gotham ultimately issued the
  excess liability policy, but it omitted coverage for Sigma’s special alternative investments. (Id.
  at 6.)

  Eventually, various investors filed claims against Sigma with the Financial Industry
  Regulation Authority (“FINRA”). (Id. at 7–8.) Consistent with the primary policy, Arch
  Specialty Insurance defended and settled many of these claims until its special alternative
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  coverage limit was exhausted. (Id. at 8.) Sigma then expected Gotham to defend and settle
  the remaining claims. But Gotham refused to provide coverage, arguing that it was only
  obligated to do so after the general coverage limit was exhausted. (Id. at 8–9.) Sigma
  ultimately defended and settled the FINRA claims using its own funds. (Id. at 11.)

  2. LEGAL STANDARD

  Federal Rule of Civil Procedure 8(a)(2) only calls for “a short and plain statement of the
  claim showing that the pleader is entitled to relief.” But a motion under Rule 12(b)(6) allows
  the defendant to object to “the formal sufficiency” of that claim, without actually “resolving
  a contest . . . about the facts or the substantive merits.” 5B C. Wright & A. Miller, Federal
  Practice and Procedure § 1356, p. 354 (3d ed. 2004). “[D]etailed factual allegations” aren’t
  necessary at this early stage, but “[t]hreadbare recitals of the elements of a cause of action,
  supported by mere conclusory statements” just won’t cut it. See Ashcroft v. Iqbal, 556 U.S. 662,
  678 (2009) (internal quotation marks omitted). And, of course, it’s well-settled that courts
  must assume that “all the allegations in the complaint are true (even if doubtful in fact).” Bell
  Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). Further, “[i]n alleging fraud or mistake, a
  party must state with particularity the circumstances constituting fraud or mistake.” Fed. R.
  Civ. P. 9(b).

  3. ANALYSIS

  To start, it’s clear that Sigma’s claim for breach of the implied covenant of good faith must
  be dismissed. As both the Ninth Circuit and the California Supreme Court have recognized,
  “without a breach of the insurance contract, there can be no breach of the implied covenant
  of good faith and fair dealing.” Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025,
  1034 (9th Cir. 2008); see also Waller v. Truck Ins. Exch., Inc., 11 Cal. 4th 1, 36 (1995) (“[I]f there
  is no potential for coverage and, hence, no duty to defend under the terms of the policy, there
  can be no action for breach of the implied covenant of good faith and fair dealing because
  the covenant is based on the contractual relationship between the insured and the insurer.”).

  This Court previously concluded that Gotham didn’t breach the excess-liability insurance
  contract, so it follows that Sigma can’t possibly recover for breach of the implied covenant
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  of good faith and fair dealing.

  Although Sigma marshals some case law to the contrary, all of those cases were either
  decided before Waller, or actually involved a breach of contract. See, e.g., Murray v. State Farm
  Fire & Cas. Co., 219 Cal. App. 3d 58 (1990). True, the Court suggested in a prior order, that
  Sigma’s remedy “perhaps” lies in a claim for breach of the implied covenant of good faith
  and fair dealing. (Order, Dkt. No. 53 at 7.) But after additional briefing on the issue (not
  originally presented to the Court), it’s clear that Sigma’s claim is futile. The Court thus
  GRANTS the defendants’ motion to dismiss this particular contract claim WITHOUT
  LEAVE TO AMEND. See Telesaurus WPC, LLC v. Power, 623 F.3d 998, 1003 (9th Cir. 2010)
  (“A district court may deny a plaintiff leave to amend if it determines that allegation of other
  facts consistent with the challenged pleading could not possibly cure the deficiency.”).

  Next, the defendants’ move to dismiss Sigma’s fraud claim. To state a claim for fraud, a
  plaintiff must allege the following: (1) misrepresentation (either false representation,
  concealment, or nondisclosure); (2) knowledge of falsity (also called “scienter”); (3) intent to
  defraud, i.e., the intent to induce reliance; (4) justifiable reliance; and (5) resulting damages.
  Agosta v. Astor, 120 Cal. App. 4th 596, 603 (2004). Claims that “sound in fraud” must also
  satisfy the heightened pleading standard of Rule 9(b). Vess v. Ciba-Geigy Corp. USA, 317 F.3d
  1097, 1103–04 (9th Cir. 2003). That rule “requires particularized allegations of the
  circumstances constituting fraud, including identifying the statements at issue and setting
  forth what is false or misleading . . . about the statement and why the statements were false
  or misleading at the time they were made.” In re Rigel Pharm., Inc. Sec. Litig., 697 F.3d 869, 876
  (9th Cir. 2012). A plaintiff must accordingly allege “the who, what, when, where, and how”
  of the supposed fraud. Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir. 1997).

  The Court is satisfied with Sigma’s allegations at the pleading stage. Indeed, Sigma’s amended
  complaint sets forth the time of the alleged concealment, the nature of the material
  information, why the information was material, and the various actors. (Am. Compl., Dkt.
  No. 81, PageID 15–16.) For example, Sigma has specified the “unambiguous request” for
  coverage it sought, the “gap in coverage” it actually got, a material failure to disclose, the
  relevant brokers and insurance companies, and relevant time period. (Id.) Still, the defendants
  counter by arguing that Gotham didn’t actually conceal anything from Sigma because the
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  insurance contract was “unambiguous.” Perhaps, but the California Supreme Court has long
  recognized that “the rule [presuming parties are familiar with contract terms] should not be
  strictly applied to insurance policies” because “[t]he insured usually confides implicitly in the
  agent securing the insurance.” See Haynes v. Farmers Ins. Exch., 32 Cal. 4th 1198, 1210–11
  (2004) (quoting Raulet v. Northwestern Nat. Ins. Co., 157 Cal. 213, 230 (1910)). The issue thus
  appears to turn on a factual question: whether Sigma is a sophisticated business entity that
  should be held to a higher standard of familiarity. And factual issues of that sort are better
  left for resolution on a motion for summary judgment. For now, Sigma has sufficiently pled
  its fraud claim to survive this motion to dismiss. The Court therefore DENIES the
  defendants’ motion to dismiss Sigma’s fraud claim.

  Finally, the defendants’ move to dismiss Sigma’s various negligence claims. To state a claim
  for negligence, a plaintiff must allege facts supporting a duty, breach of duty, causation, and
  damages. Friedman v. Merck & Co., 107 Cal. App. 4th 454, 463 (2003). And here, Sigma has
  alleged all four elements in its amended complaint. (Am. Compl., Dkt. No. 81, at 16–17.)
  While the defendants argue that the claims against Gotham and Prosight are too conclusory,
  the Court is satisfied, for the moment, with Sigma’s allegations that Gotham and Prosight
  acted through various agents. (Compl., Dkt. No. 81 at 3–4, 6, 16, 18.) See Loehr v. Great
  Republic Ins. Co., 226 Cal. App. 3d 727, 733 (1990) (“An agent is generally not limited in the
  number of agency appointments that he or she may have; thus, an agent may solicit business
  on behalf of a variety of different insurance carriers, and still technically be an agent of each
  of those carriers.”). The defendants also raise some other factual arguments that may have
  merit. But as just discussed, such arguments are better left for resolution on a motion for
  summary judgment. For now, Sigma has met its burden to get through the courthouse doors.
  The Court thus DENIES the motion to dismiss the negligence and professional negligence
  claims.

  4. DISPOSITION

  The Court recognizes that Gotham and Prosight have raised some serious arguments.
  Perhaps because there has already been a motion for summary judgment, the parties are
  champing at the bit to reach a resolution on the merits. But absent converting a motion to
  dismiss into one for summary judgment, the Court’s task here is to test “the formal
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  sufficiency” of the plaintiff’s claim to relief, without actually “resolving a contest . . . about
  the facts or the substantive merits.” 5B Wright & Miller § 1356, at 354.

  For these reasons, the Court DENIES in part and GRANTS in part the defendants’ motion
  to dismiss WITHOUT LEAVE TO AMEND. (Dkt. No. 83.)

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                                                         Preparer




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